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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   )
In re:                                                             ) Chapter 11
                                                                   )
AMERICAN PHYSICIAN PARTNERS, LLC, et al.,1                         ) Case No. 23-11469 (BLS)
                                                                   )
                                  Debtors.                         ) (Joint Administration Requested)
                                                                   )

           NOTICE OF AGENDA OF FIRST DAY MATTERS SCHEDULED FOR
           HEARING ON SEPTEMBER 21, 2023 AT 9:30 A.M. (EASTERN TIME)2
            BEFORE THE HONORABLE BRENDAN L. SHANNON, IN THE U.S.
           BANKRUPTCY COURT, 824 NORTH MARKET STREET, 6TH FLOOR,
                 COURTROOM 1, WILMINGTON, DELAWARE 19801


     THIS HYBRID HEARING WILL BE CONDUCTED IN PERSON AND VIA ZOOM.

    Please Note: All individuals participating by video must register at least 2 hours prior to
     the hearing at the provided link. After registering your appearance by Zoom, you will
      receive a confirmation email containing information about joining the hearing. You
                   must use your full name when registering and logging into
                      Zoom or you will not be granted access to the hearing.

                                             Registration Link:

                  https://protect-us.mimecast.com/s/DMR_Cv2jr2Uy8O1EUQxvXc




1.       Voluntary Petitions: See attached Exhibit A




1
        A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners . The location of
American Physician Partners, LLC’s principal place of business and the Debtors’ service address in these Chapter
11 Cases is 5121 Maryland Way Suite 300 Brentwood, TN 37027.

2
         All motions and other pleadings referenced herein are available online at the following web address:
https://dm.epiq11.com/AmericanPhysicianPartners




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                                       First Day Declaration

2.      Declaration of John C. DiDonato in Support of the Debtors’ Chapter 11 Petitions and First
        Day Relief [Filed 9/19/2023, Docket No. 18]

        Status: The Debtors will ask the Court to admit the declaration into evidence. To the extent
        the Court or any party in interest have questions regarding the declaration or the factual
        bases for the first-day relief the Debtors seek, the declarant will be available via Zoom
        videoconference.

                                      Administrative Motions

3.      Debtors’ Motion for Order Directing Joint Administration of Related Chapter 11 Cases for
        Procedural Purposes Only [Filed 9/19/2023, Docket No. 3]

        Status: This matter is going forward.

4.      Debtors’ Application for Entry of an Order (I) Approving the Retention and Appointment
        of Epiq Corporate Restructuring, LLC as the Claims and Noticing Agent to the Debtors,
        Effective nunc pro tunc to the Petition Date, and (II) Granting Related Relief [Filed
        9/19/2023, Docket No. 11]

        Status: This matter is going forward.

5.      Debtors’ Motion for Entry of an Order: (I) Authorizing the Debtors to (A) File a
        Consolidated List of Creditors in Lieu of Submitting a Separate Mailing Matrix for Each
        Debtor, (B) File a Consolidated List of the Debtors’ Thirty Largest Unsecured Creditors,
        and (C) Redact Certain Personally Identifiable Information for Individual Creditors; and
        (II) Granting Related Relief [Filed 9/19/2023, Docket No. 5]

        Status: This matter is going forward.

6.      Debtors’ Motion for Entry of an Order Authorizing Certain Procedures to Maintain
        Confidentiality of Protected Health Information as Required by Applicable Privacy Rules
        [Filed 9/19/2023, Docket No. 13]

        Status: This matter is going forward.

                             First Day Motions Pertaining to Operations

7.      Debtors’ Motion for Entry of Interim and Final Orders Authorizing the Debtors to (A)
        Continue Operating Cash Management System, (B) Honor Certain Prepetition Obligations
        Relating Thereto, (C) Maintain Existing Business Forms, and (D) Granting Related Relief
        [Filed 9/19/2023, Docket No. 6]

        Status: This matter is going forward with respect to an interim order.




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8.      Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing Debtors to (A)
        Pay Prepetition Wages, Salaries, Reimbursable Expenses, and Other Obligations on
        Account of Compensation and Benefit Programs and (B) Continue Compensation and
        Benefits Programs and (II) Granting Related Relief [Filed 9/19/2023, Docket No. 8]

        Status: This matter is going forward with respect to an interim order.

9.      Debtors’ Motion for Entry of Interim and Final Orders: (I) Authorizing the Payment of
        Certain Taxes and Fees and (II) Granting Related Relief [Filed 9/19/2023, Docket No. 12]

        Status: This matter is going forward with respect to an interim order.

10.     Debtors’ Motion Pursuant to 11 U.S.C. §§ 105(a) and 366 and Fed. R. Bankr. P. 6003 and
        6004 for Entry of Interim and Final Orders: (I) Approving Debtors’ Proposed Form of
        Adequate Assurance of Payment to Utility Companies; (II) Establishing Procedures for
        Resolving Objections by Utility Companies; (III) Prohibiting Utility Companies from
        Altering, Refusing, or Discontinuing Service, and (IV) Granting Related Relief [Filed
        9/19/2023, Docket No. 15]

        Status: This matter is going forward with respect to an interim order.

11.     Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Debtors to (A)
        Continue to Maintain Their Insurance Policies and Programs, (B) Honor all Insurance
        Obligations, (C) Renew, Amend, Supplement, Extend, or Purchase and Finance Insurance
        Policies and (II) Granting Related Relief [Filed 9/19/2023, Docket No. 9]

        Status: This matter is going forward with respect to an interim order.

12.     Motion of Debtors for Entry of Interim and Final Orders Authorizing the Debtors to (I)
        Continue to Perform Under Services Agreement with Medical Consultants, Inc. for Certain
        Transition Services, (II) Pay and Reimburse Related Fees and Expenses, and (III) Granting
        Related Relief [Filed 9/19/2023, Docket No. 4]

        Status: This matter is going forward with respect to an interim order.

13.     Debtors’ Motion for Entry of an Order Authorizing Debtors File Under Seal Certain
        Information Related to Motion of Debtors for Entry of Interim and Final Orders
        Authorizing the Debtors to (I) Continue to Perform Under Services Agreement with
        Medical Consultants, Inc. for Certain Transition Services, (II) Pay and Reimburse Related
        Fees and Expenses, and (III) Granting Related Relief [Filed 9/19/2023, Docket No. 7]

        Status: This matter is going forward.

                                     Cash Collateral Motion

14.     Motion of the Debtors Pursuant to Sections 105, 361, 362, 363, and 507 of the Bankruptcy
        Code, Bankruptcy Rule 4001, and Local Rule 4001-2 for Interim and and Final Orders (A)
        Authorizing Debtors to Use Cash Collateral, (B) Granting Adequate Protection to

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        Prepetition Secured Parties, (C) Modifying the Automatic Stay, and (D) Scheduling a Final
        Hearing [Filed 9/19/2023, Docket No. 10]

        Status: This matter is going forward with respect to an interim order.

                                      Motions for Scheduling

15.     Debtors’ Motion for an Order Authorizing Debtors to Exercise Their Ownership Rights
        over Trust Assets Currently Held in “Rabbi Trust” for the Debtors’ Nonqualified “Defined
        Contribution” Deferred Contribution Plans [Filed 9/19/2023, Docket No. 16]

        Status: This matter is going forward with respect to scheduling.

16.     Debtors’ First Omnibus Motion Seeking Entry of an Order (I) Authorizing the Rejection
        of Certain Executory Contracts, Each Effective as of the Petition Date, (II) Granting a
        Limited Waiver of Bankruptcy Rule 6006(f)(6), and (III) Granting Related Relief [Filed
        9/19/2023, Docket No. 14]

        Status: This matter is going forward with respect to scheduling.

                                        Combined Plan/DS

17.     Combined Disclosure Statement and Plan of Liquidation of American Physician Partners,
        LLC and Its Affiliated Debtors Under Chapter 11 of the Bankruptcy Code [Filed
        9/19/2023, Docket No. 17]

        Status: This matter will be scheduled for a hearing at a later date.

Dated: September 19, 2023                      PACHULSKI STANG ZIEHL & JONES LLP


                                               /s/ Laura Davis Jones
                                               Laura Davis Jones (DE Bar No. 2436)
                                               David M. Bertenthal (CA Bar No. 167624)
                                               Timothy P. Cairns (DE Bar No. 4228)
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                                               Proposed Counsel for Debtors and Debtors in
                                               Possession



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                                       Exhibit A
                                       (Petitions)

1.      AMERICAN PHYSICIAN PARTNERS, LLC [Case No. 23-11469]
2.      AMERICAN PHYSICIAN HOLDINGS, LLC [Case No. 23-11487]
3.      ALIGN, M.D., PLLC [Case No. 23-11497]
4.      APP OF ALABAMA ED, LLC [Case No. 23-11500]
5.      APP OF ARKANSAS ED, PLLC [Case No. 23-11503]
6.      APP OF ARKANSAS HM, PLLC [Case No. 23-11507]
7.      APP OF OHIO ED, PLLC [Case No. 23-11473]
8.      APP OF ILLINOIS ED, PLLC [Case No. 23-11475]
9.      APP OF ILLINOIS HM, PLLC [Case No. 23-11480]
10.     APP OF KENTUCKY ED, PLLC [Case No. 23-11484]
11.     APP MDPARTNERS, PLLC [Case No. 23-11488]
12.     APP MDPARTNERS OF GA, LLC [Case No. 23-11492]
13.     APP OF NEW MEXICO ED, PLLC [Case No. 23-11478]
14.     APP OF NEW MEXICO HM, PLLC [Case No. 23-11482]
15.     APP OF TENNESSEE ED, PLLC [Case No. 23-11485]
16.     APP OF TENNESSEE HM, PLLC [Case No. 23-11489]
17.     APP OF WEST VIRGINIA ED, PLLC [Case No. 23-11499]
18.     APP OF WEST VIRGINIA HM, PLLC [Case No. 23-11494]
19.     CALEB CREEK EMERGENCY PHYSICIANS, PLLC [Case No. 23-11502]
20.     COOSA RIVER EMERGENCY PHYSICIANS, PLLC [Case No. 23-11505]
21.     DEGARA APP, PLLC [Case No. 23-11508]
22.     DEGARA, P.L.L.C. [Case No. 23-11511]
23.     DEGARA GARDEN CITY, PLLC [Case No. 23-11519]
24.     DEGARA GARDEN CITY APP, PLLC [Case No. 23-11513]
25.     DEGARA APP HM, PLLC [Case No. 23-11510]
26.     ELITE EMERGENCY HOT SPRINGS, PLLC [Case No. 23-11527]
27.     ELITE EMERGENCY MANAGEMENT, PLLC [Case No. 23-11523]
28.     ELITE EMERGENCY RUSSELLVILLE, PLLC [Case No. 23-11531]
29.     ELITE EMERGENCY SERVICES OF KENTUCKY, PLLC [Case No. 23-11520]
30.     ELITE EMERGENCY SVC OF TN, PLLC [Case No. 23-11534]
31.     ELITE EMERGENCY SVC OF KY, PLLC [Case No. 23-11533]
32.     LITTLE RIVER EMERGENCY PHYSICIANS, PLLC [Case No. 23-11536]
33.     ST. ANDREWS BAY EMERGENCY PHYSICIANS, PLLC [Case No. 23-11549]
34.     STONEY BROOK EMERGENCY PHYSICIANS, PLLC [Case No. 23-11553]
35.     APP OF OHIO HM, PLLC [Case No. 23-11557]
36.     APP OF SOUTH CAROLINA ED, PLLC [Case No. 23-11561]
37.     APP OF SOUTH CAROLINA HM, PLLC [Case No. 23-11566]
38.     APPTEXASHM, PLLC [Case No. 23-11515]
39.     APP OF MICHIGAN ED, PLLC [Case No. 23-11518]
40.     APP OF ALABAMA HM, LLC [Case No. 23-11521]
41.     APP OF KANSAS ED, PLLC [Case No. 23-11524]


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42.     NETEP, PLLC [Case No. 23-11528]
43.     KALAMAZOO EMERGENCY ASSOCIATES, PLC [Case No. 23-11570]
44.     APP OF INDIANA ED, PLLC [Case No. 23-11525]
45.     APP OF INDIANA HM, PLLC [Case No. 23-11547]
46.     APP OF SOUTHERN NEW MEXICO ED, PLLC [Case No. 23-11562]
47.     APP OF SOUTHERN NEW MEXICO HM, PLLC [Case No. 23-11567]
48.     APP OF KENTUCKY HM, PLLC [Case No. 23-11554]
49.     APP OF KANSAS HM, PLLC [Case No. 23-11550]
50.     APP OF WESTERN KENTUCKY ED, PLLC [Case No. 23-11569]
51.     APP OF NEVADA ED, PLLC [Case No. 23-11559]
52.     APP OF EAST TENNESSEE HM, PLLC [Case No. 23-11522]
53.     APP OF EAST TENNESSEE ED, PLLC [Case No. 23-11558]
54.     APP TEXAS, PLLC [Case No. 23-11564]
55.     APPTEXASED, PLLC [Case No. 23-11530]
56.     EMERGIGROUP PHYSICIAN ASSOCIATES, PLLC [Case No. 23-11548]
57.     KIRBY EMERGENCY PHYSICIANS, P.L.L.C. [Case No. 23-11552]
58.     SAN JACINTO EMERGENCY PHYSICIANS, PLLC [Case No. 23-11543]
59.     WEST HOUSTON EMERGENCY PHYSICIANS, P.L.L.C. [Case No. 23-11544]
60.     WOODLANDS EMERGENCY PHYSICIANS, PLLC [Case No. 23-11545]
61.     APP OF NORTH CAROLINA ED, PLLC [Case No. 23-11538]
62.     APP OF NORTH CAROLINA HM, PLLC [Case No. 23-11540]
63.     AMERICAN PHYSICIANS PARTNERS PSO, LLC [Case No. 23-11541]
64.     APP MANAGEMENT CO., LLC [Case No. 23-11490]
65.     APPROVIDERS, LLC [Case No. 23-11498]
66.     APP OF MISSISSIPPI ED LLC [Case No. 23-114931]
67.     APP OF FLORIDA ED, LLC [Case No. 23-11479]
68.     APP OF FLORIDA HM, LLC [Case No. 23-11471]
69.     APP OF ARIZONA ED, LLC [Case No. 23-11470]
70.     APP OF GEORGIA ED, LLC [Case No. 23-11483]
71.     APP OF ARIZONA HM, LLC [Case No. 23-11477]
72.     APP OF MISSISSIPPI HM, LLC [Case No. 23-11496]
73.     APP OF CENTRAL FLORIDA ED, LLC [Case No. 23-11535]
74.     APP OF SOUTHERN ARIZONA ED, LLC [Case No. 23-11537]
75.     APP OF SOUTHERN ARIZONA HM, LLC [Case No. 23-11539]
76.     NORTHEAST TENNESSEE EMERGENCY PHYSICIANS, INC. [Case No. 23-11542]
77.     APP EMERGENCY ED TX, INC. [Case No. 23-11472]
78.     PROGRESSIVE MEDICAL ASSOCIATES, LLC [Case No. 23-11555]
79.     TRUEPARTNERS EMERGENCY PHYSICIANS LLC [Case No. 23-11506]
80.     EMERGENCY SPECIALISTS OF WELLINGTON, LLC [Case No. 23-11512]
81.     TRUEPARTNERS WESTLAKE EMERGENCY SPECIALISTS LCC [Case No. 23-
        11517]
82.     TRUEPARTNERS RANCH EMERGENCY SPECIALISTS LCC [Case No. 23-11526]
83.     TRUEPARTNERS MANATEE EMERGENCY SPECIALISTS LCC [Case No. 23-
        11532]
84.     TRUEPARTNERS LAKEWOOD INPATIENT SPECIALISTS LCC [Case No. 23-
        11516]


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85.     TRUEPARTNERS COMANCHE EMERGENCY SPECIALISTS LCC [Case No. 23-
        11514]
86.     APP AZ ED MEMBER 1, LLC [Case No. 23-11486]
87.     APP AZ ED MEMBER 2, LLC [Case No. 23-11491]
88.     APP AZ ED MEMBER 3, LLC [Case No. 23-11495]
89.     APP AZ ED MEMBER 4, LLC [Case No. 23-11501]
90.     APP AZ ED MEMBER 5, LLC [Case No. 23-11504]
91.     APP AZ ED MEMBER 6, LLC [Case No. 23-11509]
92.     CAPITAL EMERGENCY PHYSICIANS LLC [Case No. 23-11481]
93.     CAPITAL EMERGENCY PHYSICIANS MADISON LLC [Case No. 23-11474]
94.     LONGVIEW EMERGENCY MEDICINE ASSOCIATES,
        P.L.L.C., D/B/A LEADING EDGE MEDICAL ASSOCIATES, P.L.L.C. [Case No. 23-
        11563]
95.     ACUTE CARE SPECIALIST, LLC [Case No.23-11546]
96.     TOWN SQUARE EMERGENCY ASSOCIATES, PLLC [Case No. 23-11551]
97.     TRUEPARTNERS NORTHWEST EMERGENCY
        ASSOCIATES, PLLC [Case No. 23-11568]
98.     TEP SELECT EMERGENCY SPECIALISTS PLLC [Case No. 23-11560]
99.     TEXOMA EMERGENCY PHYSICIANS, PLLC [Case No. 23-11565]
100.    APP ICU, PLLC [Case No. 23-11556]




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